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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

MICHAELA MILLER,                                    §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                  1:15-cv-1166-RP
                                                    §
AMERICAN CORADIUS                                   §
INTERNATIONAL, LLC,                                 §
                                                    §
                Defendant.                          §

                                               ORDER

        Before the Court is the parties’ Stipulation of Dismissal with Prejudice filed May 31, 2016

(Dkt. 14). By way of the stipulation, the parties agrees to voluntarily dismiss all claims and causes of

action asserted in this action. See Fed. R. Civ. P. 41(a)(1)(ii) (allowing dismissal of an action by the

filing of a stipulation of dismissal signed by all parties who have made an appearance).

        The Stipulation of Dismissal with Prejudice is hereby ADOPTED. Accordingly, IT IS

ORDERED that all claims asserted in this action are hereby DISMISSED WITH PREJUDICE.

The Clerk’s Office is directed to close the case.

        SIGNED on July 6, 2016.




                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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